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4                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
5                                      AT SEATTLE
6
7      CASEY J RIBAUDO,
                                                      CASE NO.
8                                                     2:22−cv−00863−LK
                                      Plaintiff(s),
9                                                     STANDING ORDER REGARDING
                            v.                        28 U.S.C. § 455(B)(2) AND CANON
10                                                    3(C)(1)(B) OF THE CODE OF
       LINCOLN LIFE ASSURANCE                         CONDUCT FOR UNITED STATES
11     COMPANY OF BOSTON et al.,                      JUDGES

12                                  Defendant(s).

13         The Court issues this Standing Order for purposes of compliance with 28 U.S.C. §

14   455(b)(2) and Canon 3(C)(1)(b) of the Code of Conduct for United States Judges, which

15   require disqualification of a judge where "a lawyer with whom the judge previously

16   practiced law served during such association as a lawyer concerning the matter or ... has

17   been a material witness."

18         The Court directs the parties to notify it if any lawyer at the below−listed law firms

19   (including lawyers who subsequently departed the subject firm) served as a lawyer

20   concerning the above−captioned matter, or concerning any materially related matter,

21   during the below−listed dates:

22        • Foster Garvey PC (formerly Foster Pepper PLLC) between March 2012 and
            December 3, 2021
23
          • Byrnes Keller Cromwell LLP between January 2010 and March 2012
24
          • K&L Gates LLP (formerly Preston Gates & Ellis LLP) between May 2006 and
25          December 2009

26         If, to the best of the parties' knowledge, no lawyer at the above−listed firms served

     STANDING ORDER REGARDING 28 U.S.C. § 455(B)(2) AND CANON 3(C)(1)(B) OF THE CODE OF
     CONDUCT FOR UNITED STATES JUDGES − 1
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1    as counsel in this case or any materially related matter during the above−listed dates,
2    no response to this Standing Order is required.
3          If notice is required pursuant to this Standing Order, it shall be submitted to
4    Natalie Wood at natalie_wood@wawd.uscourts.gov within seven days of receipt of this
5    Order. However, any defendant in a qui tam case may submit its notification within
6    fourteen days of the later of (1) its appearance in the case or (2) the date that the
7    operative complaint is unsealed. Any required notifications may also be filed with this
8    Court under seal using the CM/ECF system.
9          Plaintiff's counsel (or plaintiff, if pro se) is directed to serve copies of this Order on
10   any parties who appear after this Order is filed. Such service shall be accomplished
11   within ten days after each appearance. If this case was assigned to this Court after being
12   removed from state court, the defendant(s) who removed the case must serve this Order
13   on all other parties.
14         DATED: The 21st of June 2022
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17                                               Lauren King
                                                 United States District Judge
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     STANDING ORDER REGARDING 28 U.S.C. § 455(B)(2) AND CANON 3(C)(1)(B) OF THE CODE OF
     CONDUCT FOR UNITED STATES JUDGES − 2
